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7

8                        THE UNITED STATES DISTRICT COURT
9                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10

11      Certified Nutraceuticals, Inc., a        Case No. 3:18–cv–00744–W–KSC
        California corporation,
12
                                                 Plaintiff Certified
13                  Plaintiff,                   Nutraceuticals, Inc.’s
              v.                                 Opposition to the Clorox
14
                                                 Defendants’ Motion for
15      The Clorox Company, a Delaware           Summary Judgement
16      corporation; Neocell Corporation,
                                                 NO ORAL ARGUMENT
        a California corporation; Neocell
17                                               PURSUANT TO LOCAL RULES
        Holding Company, a Delaware
18      limited liability company;               Date:      October 19, 2020
        Nutratext, a Delaware corporation;       Ctrm:      3C
19
        Avicenna Nutraceutical, LLC, a           Judge:     Hon. Thomas J. Whelan
20      Georgia limited liability company;
21      and Does 1 through 10, inclusive,

22                  Defendants.                        UNDER SEAL
23

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                   Opposition to Avicenna’s Motion for Summary Judgment
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                                                – iv –
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1      I.    INTRODUCTION
2            Plaintiff Certified Nutraceuticals, Inc. respectfully submits this brief
3      opposing the Clorox Defendants’ Motion for Summary Judgment. The Clorox
4      Defendants are not entitled to summary judgment because there are material
5      disputes of fact with respect to all of the issues raised by the Clorox Defend-
6      ants. The Clorox Defendants have engaged in false advertising (which the
7      Clorox Defendants do not address in their motion) and labeling with respect
8      to the Neocell Joint Complex product. The advertisements are literally false,
9      false by implication, and misleading, and Certified Nutraceuticals has suffi-
10     cient evidence to put these issues, as well as the other issues raised in the
11     Clorox Defendants’ motion (i.e., materiality and injury). In addition, the
12     Clorox Defendants are not entitled to summary judgment on their unclean
13     hands defense for the same reasons that Defendant Avicenna Nutraceuticals,
14     Inc. is not entitled to summary judgment on its unclean hands defense.
15     II.   CORRECTION OF MISSTATED FACT
16           Before addressing the merits of the Clorox Defendants’ argument, it is
17     important to correct a misstatement of fact in the Clorox Defendants’ Motion.
18     The Clorox Defendants claim that it is Certified Nutraceuticals’ contention
19     that Defendants’ false advertising began in February 2018. (ECF No. 117-1
20     at p. 3:21–22.) Certified Nutraceuticals has never limited its damages period
21     to exclude the period before February 2018. The Clorox Defendants base this
22     assertion on Paragraph 23 of the Third Amended Complaint. That pleading
23     states that “as of February of 2018” and continuing to the present, Defend-
24     ants falsely have advertised their products through various channels. (ECF
25     No. 50 (Jun. 24, 2019) ¶ 23.) The unverified pleading, which was not intended
26     to limit the damages period in this action, was filed before discovery had be-
27     gun, and referred necessarily to pre-discovery assertions. In any event, abun-
28     dant evidence shows that the false advertising by the Clorox Defendants
                                            –1–
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1      occurred well before 2018, in addition to the time period from 2018 through
2      present. (See Ex. 6 to Declaration of David A. Sergenian (“Sergenian Decl.”)
3      (April 1, 2016 Amazon advertisement stating Neocell’s Collagen Type 2 prod-
4      uct was “made of 100% pure collagen type II from chicken sternal cartilage”),
5      Ex. 8 (August 28, 2016 advertisement on Neocell’s website for Collagen Type
6      2 Joint Complex stating that the supplement contains 2,400 mg of “Sternal
7      Chicken Collagen”).)
8      III. ARGUMENT
9
             A.    It Is Undisputed that Clorox’s Advertisements of Its Joint
10                 Complex Product Are Literally False
11           The Clorox Defendants argue that Certified Nutraceuticals’ false adver-
12     tising claims are based entirely on the Neocell Joint Complex product label.
13     (ECF No. 117-1 at 6:7–9.) This is incorrect. The operative complaint alleges
14     that the Clorox Defendants have advertised the Neocell Joint Complex prod-
15     uct, among other places, on Amazon.com. (ECF No. 50 ¶ 26.) Specifically, Par-
16     agraph 26 of the Third Amended Complaint provides a URL for an Ama-
17     zon.com listing for the Joint Complex product, and quotes the product de-
18     scription in which the product is described as “a naturally complete joint sup-
19     port supplement made of 100% pure collagen type II from chicken sternal
20     cartilage.” (Id. ¶ 26.) That listing on Amazon.com is still active. (Sergenian
21     Decl. ¶ 2; Ex. 5.) Furthermore, the same language appeared in a listing for
22     the Joint Complex product on Amazon.com as early as April 1, 2016. (See id.
23     ¶ 3, Ex. 6 (product description states that the product “made of 100% pure
24     collagen type II from chicken sternal cartilage.”).) Moreover, the Clorox De-
25     fendants continue to advertise their product as being made of 100% pure type
26     2 collagen from chicken sternal collagen. For example, Neocell Joint Complex
27     is currently being advertised on pharmaca.com. (Id. ¶ 4, Ex. 7.) That adver-
28     tisement states that “Collagen is a safe food sourced supplement made of
                                            –2–
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1      100% pure type 2 collagen from chicken sternal cartilage.” (Id.) Similarly,
2      Neocell Joint Complex is currently being advertised on dailyvita.com. (Id. ¶ 9,
3      Ex. 12.) The advertisement on dailyvita.com states that the product is “made
4      of 100% pure type 2 collagen from chicken sternal cartilage.” (Id.) The Clorox
5      Defendants make substantially the same claim on sears.com. (Id. ¶ 10, Ex.
6      13.) There, the product is described as “a complete joint support supplement
7      made of 100% pure collagen type Ii from chicken sternal cartilage”, “[m]ade
8      Of 100% Pure Collagen Type Ii From Chicken Sternal Cartilage” and “100%
9      Pure Chicken Sternum Cartilage Collagen Type Ii, The Most Abundant
10     Structural Protein Found In Joints.” (Id.)
11           The Clorox Defendants have testified that they dictate the advertising
12     that is used across their channels of distribution. Staunton Brown, the Rule
13     30(b)(6) designee for the Clorox Defendants on the Clorox Defendants’ sales
14     channels of its collagen products, the advertising and marketing of Clorox’s
15     collagen products, the labeling of Clorox’s collagen products, and public state-
16     ments by Clorox regarding its collagen products (Ex. 16 to Sergenian Decl.
17     (Transcript of June 10, 2020 Deposition of Staunton Brown (“Brown Dep.
18     Tr.”) at 23:14–24:1, 24:16–25:8), testified that the Clorox Defendants have
19     advertised its collagen products through print, digital, and other media, in-
20     cluding through Amazon. (Id. at 157:10–19.) Mr. Brown provides direction to
21     the marketing team, which then develops and executes based on that direc-
22     tion across all of marketing. (Id. at 158:4–19.) The sales channels through
23     which the Clorox Defendants sell their collagen products include e-commerce
24     (primarily Amazon.com and iHerb.com), the “natural channel,” international,
25     and direct to consumer. (Id. at 31:7–24.)
26           It is undisputed that the advertisements stating that Joint Complex is
27     made of 100% pure type 2 collagen from chicken sternal cartilage are literally
28     false. The CEO of Avicenna—the supplier of the raw ingredient of Clorox’s
                                            –3–
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1            Accordingly, there is no dispute that Clorox’s advertisements of the Ne-
2       ocell Joint Complex product contain literally false statements: Joint Complex,
3       by the admission of the CEO of Avicenna, the manufacturer of the raw ingre-
4       dient that comprises the chicken collagen in Joint Complex admitted that Av-
5       icenna’s chicken collagen is not 100% collagen, and that the statement that
6       Joint Complex is made of 100% pure collagen type II from chicken sternal
7       cartilage is false. Based on these undisputable facts, the Clorox Defendants
8       are not entitled to summary judgment with respect to establishing false or
9       misleading advertisements. See Nutrition Distribution LLC v. PEP Research,
10      LLC, No. 16CV2328-WQH-BLM, 2019 WL 652391, at *6 (S.D. Cal. Feb. 15,
11      2019) (“Plaintiff may benefit from a presumption of deception only by showing
12      that Defendants intended to deceive consumers, or showing that the Repre-
13      sentations are false.”) (citing William H. Morris Co. v. Grp. W, Inc., 66 F.3d
14      255, 258 (9th Cir.), supplemented sub nom. William H. Morris Co. v. Grp. W.
15      Inc., 67 F.3d 310 (9th Cir. 1995), and Hall v. Bed Bath & Beyond, Inc., 705
16      F.3d 1357, 1367 (Fed. Cir. 2013)).
17           Furthermore, notwithstanding that the false advertisements on Ama-
18      zon.com was specifically referenced in the Third Amended Complaint, the
19      Clorox Defendants did not make any effort to take the advertisement down
20      in the intervening two-plus years since the Third Amended Complaint was
21      filed. (ECF No. 50 (Third Am. Compl.) ¶ 26 (providing URL to Amazon.com
22      listing falsely claiming Joint Complex is “made of 100% pure collagen type II
23      from chicken sternal cartilage” and quoting that language verbatim); Serge-
24      nian Decl. ¶ 2; Ex. 5 (the same Amazon.com listing is still active as of October
25      4, 2020). The inference is that the Clorox Defendants’ false advertisement is
26      willful. This leads to a presumption that the false advertisement has caused
27      consumer deception. See Nat’l Products, Inc. v. Gamber-Johnson LLC, 699 F.
28      Supp. 2d 1232, 1241 (W.D. Wash. 2010) (“deliberate falsity yields a
                                            –5–
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1       presumption of consumer deception in cases of non-comparative advertis-
2       ing….”); Nutrition Distribution LLC, 2019 WL 652391, at *5 (“When a plain-
3       tiff has shown falsity, deception may be presumed if the defendant intended
4       to deceive customers.”) (citing William H. Morris Co. v. Grp. W. Inc., 66 F.3d
5       at 258, Harper House, Inc. v. Thomas Nelson, Inc., 889 F.2d 197, 209 (9th Cir.
6       1989), and Hall v. Bed Bath & Beyond, Inc., 705 F.3d at 1367 (stating “no
7       extrinsic evidence of consumer confusion is required” to show deception for
8       literally false statements) (quoting Time Warner Cable, Inc. v. DIRECTV,
9       Inc., 497 F.3d 144, 158 (2d Cir. 2007))). Accordingly, for this reason alone, the
10      Clorox Defendants’ Motion should be denied with respect to falsity, material-
11      ity, and injury.
12
             B.    There Is a Dispute of Material Facts as to Whether the
13                 Labeling of the Joint Complex Product Is False or
14                 Misleading

15           The Clorox Defendants claim that the labeling of the Neocell Joint Com-
16      plex product is not false, and not misleading. Summary judgment based on
17      this issue is inappropriate because there are numerous disputes of material
18      fact with respect to whether the Joint Complex label is false or misleading.
19
                   1.      The Joint Complex Labeling Is Literally False or
20                         False by Implication
21           The Joint Complex label is literally false, or in the alternative, false by
22      implication. A Lanham Act claimant may prove falsity by showing the state-
23      ment was “literally false, either on its face or by necessary implication….”
24      Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1139 (9th Cir. 1997).
25      Courts recognize literal falsity by necessary implication when a consumer
26      “will necessarily and unavoidably” receive a false message “from the product's
27      name and advertising.” Novartis Consumer Health v. Johnson & Johnson,
28      290 F.3d 578, 588 (3d Cir. 2002); Design Res. v. Leather Indus. of Am., 789
                                            –6–
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1       F.3d 495, 502–03 (4th Cir. 2015) (stating “the contested conclusion” must
2       “necessarily flow[ ] from the ad’s statements” or be “logically necessary”); see
3       also Clorox Co. P.R. v. Proctor & Gamble, 228 F.3d 24, 35 (1st Cir. 2000) (“A
4       claim is conveyed by necessary implication when, considering the advertise-
5       ment in its entirety, the audience would recognize the claim as readily as if
6       it had been explicitly stated.”). As the Ninth Circuit explained in Southland
7       Sod, “the court must view the face of the statement in its entirety, rather
8       than examining the eyes, nose, and mouth separately and in isolation from
9       each other.” Southland Sod, 108 F.3d at 1139 (quoting Cuisinarts, Inc. v. Ro-
10      bot–Coupe Int’l Corp., No. 81 Civ 731–CSH, 1982 WL 121559, *2 (S.D.N.Y.
11      June 9, 1982)).
12           The Joint Complex label, as it existed at the time the Third Amended
13      Complaint was filed, stated that a serving contained 2,400 mg of “Protein
14      (from Collagen)”:
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26      (Ex. 1 to Declaration of Ahmad Alkayali (“Alkayali Decl.”); id. ¶ 2.) This la-
27      beling had appeared for several years on the Joint Complex product. (See
28      Sergenian Decl. ¶ 5, Ex. 8 (substantially identically Supplement Facts from
                                            –7–
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1       Neocell’s website in August 2016); id. ¶ 6, Ex. 9 (substantially identical Sup-
2       plement Facts from Neocell’s website in September 2015); id. ¶ 7, Ex. 10 (sub-
3       stantially identical Supplement Facts from Neocell’s website in September
4       2015).) The labeling claimed that all of the ingredients (other than stearic
5       acid, vegetable magnesium stearate, and gelatin capsules) in the supplement
6       are protein from collagen. The label further states that the collagen is com-
7       prised of “Sternal Chicken Collagen.”
8               The statement on the Joint Complex label that the product is comprised
9       of 2,400 mg of Sternal Chicken Collagen is literally false. As discussed above,
10      in Section III.A., the raw ingredient of Joint Complex is not made of 100%
11      collagen type II from chicken sternal cartilage,
12

13      (Ex. 17 to Sergenian Decl. (Elnajjar Dep. Tr.) at 140:17–19, 207:21–208:8; Ex.
14      18 to Sergenian Decl. (Pallas Report) at pp. 5–8.) Given these facts, it is liter-
15      ally false that each serving of Joint Complex contains 2,400 mg of “sternal
16      chicken cartilage,” or even collagen, as the Joint Complex label claims. In
17      fact,                                                                    . (Ex. 17
18      at 195:22–197:11.) This means that only 1,680 mg of each serving of Joint
19      Complex is guaranteed to be comprised of sternal chicken cartilage or any
20      type of collagen.
21              In the alternative, the Joint Complex label is false by implication. At
22      the very least, the Joint Complex label implies that 100% of the contents of
23      the supplement are collagen type II from sternal chicken cartilage. Yet,
24

25                . (Ex. 17 to Sergenian Decl. (Elnajjar Dep. Tr.) at 140:17–19.) If not a
26      literal falsehood, the label at least implies that there are no ingredients that
27      go into the Joint Complex capsules other than collagen or sternal chicken
28      cartilage. If the Clorox Defendants’ position is that the label does not mean
                                              –8–
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1       that 100% of the 2,400 mg per serving are collagen or sternal chicken colla-
2       gen, then they must show what the other ingredients are. So far, the Clorox
3       Defendants have not explained what the other ingredients are (if any) other
4       than sternal chicken cartilage, or why these purported ingredients are not
5       disclosed on the label. This presents a triable issue of fact for the jury to de-
6       termine whether the label, by implication, is false.
7            The Clorox Defendants claim that it is a true statement of fact that the
8       Joint Complex product contains sternal chicken collagen. (ECF No. 117-1 at
9       9:16-17; see also id. at 20:2-4 (framing the issue as whether Clorox’s label
10      “list[s] sternal chicken collagen as an ingredient”) (emphasis added).) Clorox
11      is misstating the issue and setting up a strawman to argue against. Certified
12      Nutraceuticals does not allege that Joint Complex contains no chicken ster-
13      num at all. The allegation in the Third Amended Complaint is that the Clorox
14      Defendants are passing their product as “comprised of pure Sternal
15      Chicken…” (ECF No. 50 ¶ 18.) The Clorox Defendants are trying to lower the
16      bar by claiming that if their product contains any chicken sternum than they
17      have not engaged in false advertising. 3
18           The Clorox Defendants further misstate the issue by claiming that in-
19      dependent analysis of Avicenna’s product purportedly shows that Avicenna’s
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21

22      3 The Clorox Defendants point to a Certificate of Analysis that claims that

23      the product is sternal chicken collagen. (ECF No. 117-1 at 10:2–7.) However,
        this is nothing more than a statement by Avicenna claiming, without evi-
24
        dence, that its product contains sternal chicken collagen, or more accurately,
25      using the words sternal chicken collagen in its product description. (Ex. Q to
        Young Decl.) This does not negate the admission of Avicenna’s CEO that its
26
        product is guaranteed to be no more than 70% chicken collagen (Ex. 17 to
27      Sergenian Decl. (Elnajjar Dep. Tr.) at 195:22–197:11), or the opinion of Cer-
28      tified Nutraceuticals’ expert witness on Biochemistry, Dr. Pallas. (Ex. 18 to
        Sergenian Decl.)
                                            –9–
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1       product contains some “collagen type II.” (ECF No. 117-1 at 10:7–11.) How-
2       ever, this is more of the Clorox Defendants trying to lower the bar from what
3       is required of them to prove their labeling is true. Showing that the product
4       contains some collagen type II would not make the labeling true and accurate.
5       Furthermore, although the Clorox Defendants point to deposition testimony
6       of Certified Nutraceuticals CEO Mr. Alkayali discussing the sources of colla-
7       gen, they misstate the record. Mr. Alkayali testified that bone, blood, and
8       meat do not contain collagen type II. (Ex. D to Young Decl.) at 40:25–41:7.)
9       He did not state that “chicken sternum is the only source of collagen type II,”
10      as the Clorox Defendants misstate. (ECF No. 117-1 at 10 n.6.)
11           Finally, the Clorox Defendants point to their expert, Dr. Blumberg, who
12      purportedly opined “that the collagen in the Collagen2 Joint Complex product
13      is sternal chicken collagen.” (ECF No. 117-1 at 10:11–14.) This is a misstate-
14      ment. The cited portion of Dr. Blumberg’s report merely states:
15           It is reasonable to conclude that the products from Certified
16           Nutraceuticals and Avicenna Nutraceutical are substantially
17           chicken sternum collagen Type II based upon the available de-
18           scriptions of their respective manufacturing processes, the identi-
19           fication of avian or chicken sternum or keel cartilage as the source
20           tissue or product in the Certificates of Analysis and laboratory re-
21           ports, and the results of amino acid analyses in these reports.
22      (Ex. B to Young Decl. at 7 n.1.) In other words, some unspecified portion of
23      Avicenna’s product, according to Dr. Blumberg, is comprised of chicken ster-
24      num collagen. Dr. Blumberg does not in fact opine that all of Avicenna’s prod-
25      uct is comprised of chicken sternum collagen. In fact, Dr. Blumberg opines
26      that “[i]t is not possible to determine whether a product is ‘pure sternal
27      chicken’ in the absence of a standard reference material of sternal chicken
28      collagen type II.” (Id. at p. 2.) Accordingly, Dr. Blumberg’s opinion does not
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1       support the Clorox Defendants’ contention that the Joint Complex labeling is
2       true because like Avicenna itself, Dr. Blumberg does not contend that Avi-
3       cenna’s product is comprised of pure chicken collagen. Moreover, to the extent
4       there are differing opinions between the experts (i.e., Dr. Pallas and Dr.
5       Blumberg), this is a question for the jury to resolve that precludes the grant-
6       ing of summary judgment.
7
                    2.    The Joint Complex Labeling Is Misleading
8
              The Clorox Defendants raise a number of issues with Dr. Gelb’s opinion
9
        regarding whether the Joint Complex label is misleading, all of which go the
10
        weight of Dr. Gelb’s testimony rather than to its admissibility.
11
              Dr. Gelb oversaw a survey of 101 rheumatologists who were shown the
12
        Joint Complex label. The survey found that 41% of the respondents were de-
13
        ceived by the wording on the label at issue in this case. (Ex. J to Young Decl.
14
        at p. 4.) “Specifically, they say that the label states as fact that the product is
15
        made of chicken sternum, but not other chicken parts.” (Id.) Consequently,
16
        Dr. Gelb concluded that “the label not only is deceptive advertising if in fact
17
        other chicken parts were used, but also that label effectively deceived profes-
18
        sionals whose decision on whether or not to recommend the supplement to
19
        patients could be influenced by on their perception of its ingredients.” (Id.)
20
              Dr. Gelb’s opinion is reasoned and appropriate for this case. If “a state-
21
        ment is not literally false and is only misleading in context,” then “proof that
22
        the advertising actually conveyed the implied message and thereby deceived
23
        a significant portion of the recipients becomes critical.” William H. Morris, 66
24
        F.3d at 258; see also Apple Inc. v. Amazon.com Inc., 915 F. Supp. 2d 1084,
25
        1090 (N.D. Cal. 2013) (“[I]f an advertisement is not false on its face ... the
26
        plaintiff must produce evidence, usually in the form of market research or
27
        consumer surveys, showing exactly what message was conveyed that was
28

                                             – 11 –
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1       sufficient to constitute false advertising.”). Here, the fact that the survey
2       overseen by Dr. Gelb showed that 41% of respondents found the advertising
3       deceptive is well within the range of survey experts who have presented sur-
4       vey evidence proving that an advertisement is misleading, see 4 McCarthy
5       § 32.54[4] (noting that courts have found evidence sufficient where 21 to 34
6       percent of the recipients were deceived), and the Clorox Defendants do not
7       dispute that the percentage of respondents who found the label misleading is
8       insufficient. Nor do they question generally whether Dr. Gelb’s methodology
9       generally was appropriate.
10           Instead, the Clorox Defendants attack Dr. Gelb’s opinion solely on the
11      basis that rheumatologists were surveyed instead of individual consumers.
12      (ECF No. 117-1 at pp. 10–15.) Dr. Gelb selected rheumatologists to survey
13      instead of consumers because she considered a survey of rheumatologists to
14      be “much more consequential” than a survey of consumers. (Ex. 19 to Serge-
15      nian Decl. (Transcript of August 20, 2020 Deposition of Betsy Gelb, Ph.D.
16      (“Gelb Dep. Tr.”) at 72:11–73:5.) Although she considered surveying consum-
17      ers, she believed that surveying rheumatologists would be more useful be-
18      cause, and based on her background studying consumer behavior, she was
19      attuned to the fact that rheumatologists have influence over patients’ pur-
20      chasing behavior (Id. at 76:20–78:6; see also id. at 125:13–15 (describing
21      rheumatologists as “authority figures”).) Dr. Gelb believed that conducting a
22      survey of consumers would not be appropriate because consumers are not the
23      “relevant population.” (Id. at 82:6–15.) Based on Dr. Gelb’s background in
24      consumer behavior, people who are considering healthcare issues go to the
25      “top of the information funnel,” which in this case would be a rheumatologist.
26      (Id. at 82:16–83:1.) Dr. Gelb determined that rheumatologists are the most
27      relevant subset of physicians to survey and would yield the most accurate
28      results. (Id. at 83:11–86:11, 121:4–21.)
                                            – 12 –
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1            The Clorox Defendants point out what they perceive are flaws in Dr.
2       Gelb’s decision to have rheumatologists surveyed. For example, the Clorox
3       Defendants fault Dr. Gelb for purportedly relying on a conditions of use dis-
4       claimer that she found on the WebMD.com website. (ECF No. 117-1 at 14:12–
5       24.) However, Dr. Gelb’s testimony made clear that her insight into consumer
6       behavior with respect to the relevant population was based on her under-
7       standing of consumer behavior, rather than reviewing the conditions of use
8       disclaimer. (Ex. 19 to Sergenian Decl. at 72:11–73:5, 76:20–78:6, 82:6–15,
9       82:16–83:1, 83:11–86:11, 121:4–21.) In fact, Dr. Gelb testified that she merely
10      clicked on the WebMD site “to see what they had to say…” (Id. at 74:1–12.)
11      She pulled up the WebMD site merely because she was conducting a Google
12      search using the term “collagen type II supplements” or something similar.
13      (Id. at 138:10–138:3.)
14           The Clorox Defendants also suggest it was an error for Dr. Gelb not to
15      establish that the rheumatologists specifically recommended chicken colla-
16      gen supplements to patients. (ECF No. 117-1 at 15:7–12.) Dr. Gelb, however,
17      addressed this criticism in her deposition. Specifically, she determined that
18      were she to ask such questions, they would be leading questions. (Ex. 19 to
19      Sergenian Decl. at 127:3–21; see also id. at 102:7–105:4 (discussing avoidance
20      of leading questions in surveys).4
21

22
        4 The Clorox Defendants also imply that Gelb chose not to survey actual con-
23
        sumers because it would help Certified Nutraceuticals demonstrate decep-
24
        tion. (ECF No. 117-1 at p. 13 n.7), suggesting that Dr. Gelb believed that if
25      she surveyed consumers it would be detrimental to plaintiff’s case. That is a
        distortion of the record; Dr. Gelb did not testify that her choice of whether to
26
        survey consumers or rheumatologists was motivated by a fear that consumers
27      would have provided poor evidence of likelihood of deception. Her testimony
28      shows that she came to an independent judgment as to who would be sur-
        veyed based on her understanding of the relevant population.
                                            – 13 –
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1            The Clorox Defendants’ criticisms of Dr. Gelb’s opinion go to the weight
2       that a jury should give to her testimony, not to whether her opinion should
3       be admitted. As a general rule, “courts within the Ninth Circuit are reluctant
4       to exclude survey evidence on the basis of an overinclusive or underinclusive
5       target population.” Icon Enterprises Int’l, Inc. v. Am. Prod. Co., No. CV 04-
6       1240 SVW PLAX, 2004 WL 5644805, at *26 (C.D. Cal. Oct. 7, 2004); see also
7       Morales v. Kraft Foods Grp., Inc., No. LACV1404387JAKPJWX, 2017 WL
8       2598556, at *12 (C.D. Cal. June 9, 2017) (same). The Ninth Circuit has “held
9       that survey evidence should be admitted as long as it is conducted according
10      to accepted principles and is relevant.” Fortune Dynamic, Inc. v. Victoria’s
11      Secret Stores Brand Mgmt., Inc., 618 F.3d 1025, 1036 (9th Cir. 2010) (altera-
12      tion omitted). “The admissibility threshold for survey evidence in the Ninth
13      Circuit is notably low.” Townsend v. Monster Beverage Corp., 303 F. Supp. 3d
14      1010, 1025 (C.D. Cal. 2018).
15           The Clorox Defendants rely on Kwan Software Eng’g, Inc. v. Foray
16      Techs., LLC, No. C 12-03762 SI, 2014 WL 572290 (N.D. Cal. Feb. 11, 2014),
17      to support their argument that Dr. Gelb’s opinion should be excluded. Kwan
18      was a much different case. In Kwan, which involved photo software, the sur-
19      vey was flawed because instead of surveying software users, the survey ex-
20      pert focused on members of the law enforcement community who merely used
21      photos at work. Id. at *4. Accordingly, there was no nexus between the survey
22      respondents (most of whom were unfamiliar with photo software) and the
23      purchasers. Id. at *5. Here, by contrast, Dr. Gelb had a reasoned basis for
24      focusing on rheumatologists, as they are likely to influence purchasers’ deci-
25      sions.
26           In Quidel Corp. v. Siemens Med. Sols. USA, Inc., No. 16-CV-3059-BAS-
27      AGS, 2019 WL 5328730 (S.D. Cal. Oct. 21, 2019), a false advertising and un-
28      fair competition case, the plaintiff alleged in the complaint that the false
                                            – 14 –
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1       advertising influenced laboratories to order competing blood assays from the
2       defendant. The plaintiff’s expert conducted a survey of physicians, rather
3       than the laboratories that buy the blood assays due to the physicians’ influ-
4       ence in ordering blood assays. The court refused to strike the plaintiff’s ex-
5       pert, finding that issues with whether the plaintiff’s expert surveyed the rel-
6       evant universe should be decided by the factfinder. The court distinguished
7       Kwan, because in Quidel the physicians surveyed actually influenced the pur-
8       chases, unlike the law enforcement community that was surveyed in Kwan.
9       See Quidel, 2019 WL 5328730, at *3 (“[I]t is possible the physicians’ opinions
10      regarding the products are relevant and their opinions could be influenced by
11      marketing or website information. The Court finds that a survey of physi-
12      cians could be relevant in this case.”).
13            Here, as in Quidel, the opinions of the surveyed rheumatologists are
14      relevant because they are influential on the ultimate purchaser. Accordingly,
15      Dr. Gelb’s expert testimony should be admissible. See also Morales 2017 WL
16      2598556, at *12 (observing that the survey expert “provides a reasoned ex-
17      planation for his decision not to limit the survey audience to purchasers of
18      the Product. Therefore, whether that decision should reduce the weight ac-
19      corded to the survey results is an issue for the finder of fact.”); In re ConAgra
20      Foods, Inc., 90 F. Supp. 3d 919, 947 (C.D. Cal. 2015), aff’d sub nom. Briseno
21      v. ConAgra Foods, Inc., 844 F.3d 1121 (9th Cir. 2017), and aff’d sub nom.
22      Briseno v. ConAgra Foods, Inc., 674 F. App’x 654 (9th Cir. 2017) (where ex-
23      perts disagreed on the appropriateness of a certain methodology, “the disa-
24      greements go to the weight of the results produced by ... [the] methodology,
25      not to its reliability”).
26

27

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1            C.    Certified Nutraceuticals Has Sufficient Evidence of
                   Materiality
2
             The Clorox Defendants argue that the false representations on its Joint
3
        Complex label are not material. As stated above, because the advertisements
4
        and label are false, Certified Nutraceuticals is entitled to a presumption of
5
        materiality. Nutrition Distribution LLC v. PEP Research, LLC, No.
6
        16CV2328-WQH-BLM, 2019 WL 652391, at *6; POM Wonderful LLC v.
7
        Purely Juice, Inc., No. CV-07-02633CAS(JWJX), 2008 WL 4222045, at *11
8
        (C.D. Cal. July 17, 2008), aff’d, 362 F. App’x 577 (9th Cir. 2009) (“Where, as
9
        in this case, an advertisement is demonstrated to be literally false, the Court
10
        does not need to inquire into whether consumers were deceived or misled. A
11
        plaintiff is entitled to relief under the Lanham Act on proof of literal falsity
12
        alone, as the court will assume that false statements actually mislead con-
13
        sumers.”) (citing U-Haul Intl., Inc. v. Jartran Inc., 793 F.2d 1034 (9th Cir.
14
        l986)); Harper House, 889 F.2d at 209 (9th Cir.1989) (even in non-compara-
15
        tive advertising case, no need for actual evidence of consumer deception
16
        where defendant engaged in intentional deception); see also Warner-Lambert
17
        Co. v. Breathasure, Inc., 204 F.3d 87 (3rd Cir. 2000) (where claim was “liter-
18
        ally false, [plaintiff] did not have to introduce consumer testimony, marketing
19
        surveys or proof of lost profits to enjoin the use”); Energy Four, Inc. v. Dornier
20
        Medical Systems, Inc., 765 F. Supp. 724, 731 (N.D.Ga.1991) (“When represen-
21
        tations are actually false, a court does not have to determine whether the
22
        representations are likely to create confusion” and actually false claims are
23
        presumed material). In addition, materiality is not a burdensome standard
24
        in the Ninth Circuit. For example, in Skydive Arizona, Inc. v. Quattrocchi,
25
        673 F.3d 1105 (9th Cir. 2012), the Ninth Circuit affirmed a grant of partial
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        summary judgment in favor of a Lanham Act false advertising plaintiff, even
27
        though the only evidence of materiality was a declaration by a consumer
28

                                            – 16 –
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1       stating that he had been misled by false and misleading statements in the
2       defendant’s advertisements. Id. at 1111.
3            Here, Certified Nutraceuticals has evidence that the label and adver-
4       tisements are false and misleading, and has conducted a survey to show, in
5       the alternative, that the labeling of the Joint Complex product is misleading.
6       These false statements go to the very heart of the products being sold. Joint
7       Complex contains essentially one ingredient. The labeling only shows the nu-
8       tritional information for chicken sternal collagen. (Ex. 1 to Alkayali Decl.)
9       That is because the product is a supplement and supplements are typically
10      one-ingredient products that consumers buy for health reasons. Accordingly,
11      any falsity or misrepresentation about that one ingredient is necessarily ma-
12      terial. See POM Wonderful LLC v. Purely Juice, Inc., 2008 WL 4222045, at *1
13      (“The fact that Purely Juice’s false advertising pertained to the very nature
14      of its juice product establishes its materiality.”) (citing Johnson & Johnson
15      Vision Care, Inc. v. 1-800 Contacts, Inc., 299 F.3d 1242 (11th Cir. 2002) (“A
16      plaintiff may establish this materiality requirement by proving that ‘the de-
17      fendants misrepresented an inherent quality or characteristic of the prod-
18      uct.’”). Here, the inherent quality of Joint Complex is its purported Sternal
19      Chicken Collagen content and any falsity or misleading statement about
20      whether that is what consumers are actually buying is material.
21           The Clorox Defendants rely on several cases that are inapposite. First,
22      Rice v. Fox Broad. Co., 330 F.3d 1170, 1181 (9th Cir. 2003), is inapposite be-
23      cause the alleged false statements were contained on video cassette jackets
24      that were never seen by any customers before the customers bought videos
25      over the telephone in response to a toll-free number appearing on television.
26      Here, by contrast, a consumer will be exposed to the label the bottle before
27      purchasing, as well as the advertisements. Appliance Recycling Centers of
28      Am., Inc. v. JACO Envtl., Inc., 378 F. App’x 652 (9th Cir. 2010), is inapposite
                                            – 17 –
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1       because there, the Ninth Circuit held that no reasonable jury could find the
2       statements were misleading. The court found that found the defendant’s
3       statement that “no other company could handle polyurethane contaminated
4       with CFC–11” was not literally false because it was ambiguous as to whether
5       “no other company” referred to the plaintiff or the defendant, and there was
6       no evidence of actual deception. Id. at 654–55. Finally, Sidense Corp. v.
7       Kilopass Tech. Inc., No. C 11-04112 SI, 2012 WL 3545289 (N.D. Cal. Aug. 16,
8       2012), is inapposite because it did not involve either a literally false claim or
9       any evidence of likelihood of deception. Id. at *10–11.
10
             D.    Certified Nutraceuticals Has Sufficient Evidence of
11                 Actual Injury Caused by The Clorox Defendants’ Conduct
12           The Clorox Defendants fault Certified Nutraceuticals’ damages expert,
13      David Connelly for not calculating damages suffered by Certified Nutraceu-
14      ticals. However, it is common in Lanham Act cases for plaintiffs to seek only
15      disgorgement of profits. “Because it often is difficult for a plaintiff to prove
16      actual damages in a false advertising case, the Lanham Act permits a court,
17      ‘subject to the principles of equity,’ to award damages based on the defend-
18      ant’s profits on an unjust enrichment theory. 15 U.S.C. § 1117(a); Lindy Pen
19      Co. [v. Bic Pen Corp.], 982 F.2d [1400,] 1407 [(9th Cir. 1993), abrogated by
20      SunEarth, Inc. v. Sun Earth Solar Power Co., 839 F.3d 1179 (9th Cir. 2016)].”
21      Fortunet, Inc. v. Gametech Arizona Corp., No. 206-CV-00393-PMP-PAL, 2008
22      WL 5083812, at *8 (D. Nev. Nov. 26, 2008). When assessing profits, the plain-
23      tiff need prove only the defendant’s sales and the defendant must prove any
24      costs or deductions therefrom. 15 U.S.C. § 1117(a).
25           The Clorox Defendants claim that Certified Nutraceuticals has no evi-
26      dence of injury because purportedly there is no evidence of lost customers.
27      The Clorox Defendants’ analysis focuses on only a few customers. However,
28      as the Clorox Defendants are aware, following a conference with the
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1       Magistrate Judge in this matter, Certified Nutraceuticals was ordered to pro-
2       vide Defendants with a list of all customers it contended it lost. In the discov-
3       ery responses, Certified Nutraceuticals disclosed its theory of lost customers
4       in detail. (Ex. 20 to Sergenian Decl. (Plaintiff Certified Nutraceuticals, Inc.’s
5       Third Supplemental Responses to Interrogatories of Defendant Nutranext,
6       Set One) at pp. 3–11; id. at pp. 9–11 (listing 45 lost customers and disclosing
7       documents showing the amounts of profits lost).) Even though this disclo-
8       sures of lost customers was duly-made on May 8, 2020, during the deposition
9       of Mr. Alkayali on June 8, 2020, Defendants’ counsel did not ask any ques-
10      tions of the vast majority of these lost customers, but instead focused on the
11      handful of customers addressed in Defendants’ motions for summary judg-
12      ment (Vibrant Health, Emanee, Neocell, Nutranext, and Clorox). (Sergenian
13      Decl. ¶ 19.) Accordingly, the Clorox Defendants’ contention that Certified
14      Nutraceuticals has no evidence of injury is incorrect.
15           In any event, the Clorox Defendants’ own expert witness affirms that
16      Certified Nutraceuticals has presented evidence of injury. The Clorox Defend-
17      ants’ expert witness Mr. Zimmer analyzed all 45 of Certified Nutraceuticals’
18      lost customers and the data provided by Certified Nutraceuticals. (See Ex. M
19      to Young Decl. at pp. 320–322.) The Clorox Defendants and Mr. Zimmer ar-
20      gue that it cannot be true that Certified Nutraceuticals spent additional ad-
21      vertising, marketing, and related costs to correct the effects of the Clorox De-
22      fendants’ (and Avicenna’s) false advertising. (Clorox’s Motion at p. 19; Zim-
23      mer Report [Ex. M to Young Decl.] at pp. 5–6.) The evidence they cite to is
24      the assertion that Certified Nutraceuticals’ annual expenditures for Adver-
25      tising & Promotion were purportedly declining from 2016 to 2019. (Id.) Mr.
26      Zimmer, however, is cherry picking information. For example, if he had
27      looked at the period from 2017 to 2019, it would have shown an increase in
28      Advertising & Promotion expenditures during that time period. Specifically,
                                            – 19 –
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1       Certified Nutraceuticals’ spending on Advertising & Promotion went from
2       $60,452 in 2017 to $89,677 in 2018. (Zimmer Report at p. 5.) This was an
3       increase of 48.34% year-over-year.
4               Similarly, if Mr. Zimmer had picked the time period from 2014 through
5       2019 as the relevant time period, it also would have shown an increase in
6       Advertising & Promotion expenditures. In 2014, Certified Nutraceuticals’ ex-
7       penditures on Advertising & Promotion were $55,579. (Zimmer Report [Ex.
8       M to Young Decl.] at p. 5.) If this spending had remained constant, the total
9       expenditures from 2014 through 2019 would have been $333,474 [6 *
10      $55,579]. In reality, because Certified Nutraceuticals had to combat the false
11      advertising by the Clorox Defendants and Avicenna, Certified Nutraceuticals
12      was required to spend $456,972 on Advertising & Promotion from 2014
13      through 2019. (Zimmer Report at p. 5; Alkayali Decl. ¶ 5.) This was an in-
14      crease of $123,498, or 37% more than Certified Nutraceuticals would have
15      spent on Advertising & Promotion if the expenditures had remained at 2014
16      levels from 2014 through 2019. Mr. Alkayali attributes this increase in spend-
17      ing to a conscious effort by Certified Nutraceuticals to educate consumers
18      about the benefits of Certified Nutraceuticals’ collagen products that was re-
19      quired by the Clorox Defendants’ and Avicenna’s wrongful false advertising.
20      (Id.)
21              Likewise, if Mr. Zimmer had chosen the 2017 through 2019 period, he
22      would have come to a similar conclusion. In 2017, Certified Nutraceuticals
23      spent $60,452 for Advertising & Promotion. (Zimmer Report [Ex. M to Young
24      Decl.] at p. 5.) In 2018, the expenditure went up to $89,677. (Id.) In 2019, the
25      expenditure went down to $60,111. (Id.) If Mr. Zimmer had used the 2017
26      level of expenditures as a baseline, then one would expect total expenditures
27      on Advertising & Promotion during the three-year period from 2017 through
28      2019 to be $181,356 [i.e., 3 * $60,452]. In reality, Certified Nutraceuticals
                                              – 20 –
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1       spent $210,240 on Advertising & Promotion from 2017 through 2019. (Id.)
2       This was an increase in Advertising & Promotion of 15.9% based on 2017
3       levels of spending as a baseline.
4             Accordingly, based on the analysis by Mr. Zimmer (and correcting for
5       his over-selectiveness), it is undisputed that Certified Nutraceuticals suffered
6       an actual monetary injury due to Defendants’ false advertising. Furthermore,
7       even if Mr. Zimmer’s methodology of picking only the most favorable time
8       periods without any justification were accepted, it would still lead to the con-
9       clusion that Certified Nutraceuticals suffered an actual injury. (See Ex. M to
10      Young Decl. [Zimmer Report] at pp. 329, 330 (showing Mr. Zimmer’s calcula-
11      tion of Certified Nutraceuticals’ lost profits).)
12
              E.    Certified Nutraceuticals Has Sufficient Evidence to
13                  Support Its Claim for False Designation of Origin
14            The Clorox Defendants’ arguments regarding Certified Nutraceuticals’
15      false designation of origin claim incorporate by reference their arguments
16      concerning Certified Nutraceuticals’ false advertising claim. Accordingly,
17      Certified Nutraceuticals incorporates by reference its prior arguments re-
18      garding its false advertising claim.
19
              F.    The Clorox Defendants Are Not Entitled to Summary
20
                    Judgment on Their Unclean Hands Affirmative Defense
21
              The Clorox Defendants’ unclean hands theory is based solely on the ar-
22
        guments made by Avicenna in its motion for summary judgment. Accord-
23
        ingly, for the reasons set forth in Certified Nutraceuticals’ opposition to
24

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                                             – 21 –
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1       Avicenna’s motion, the Clorox Defendants’ request that summary judgment
2       be entered on its affirmative defense of unclean hands should be denied. 5
3       IV.   CONCLUSION
4             For the foregoing reasons, Plaintiff Certified Nutraceuticals respect-
5       fully requests that the Court deny The Clorox Defendants’ Motion for Sum-
6       mary Judgment in its entirety.
7

8        Dated: October 5, 2020            Sergenian Ashby LLP
9

10                                         By: /s/David A. Sergenian
11
                                           David A. Sergenian
                                           Attorneys for Plaintiff Certified
12                                         Nutraceuticals, Inc.
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24      5 The Clorox Defendants request judicial notice of the summary judgment

25      order by Judge Benitez in Certified v. Avicenna I. Certified Nutraceuticals
        does not object to judicial notice of the fact that the summary judgment order
26
        was filed for purposes of determining whether issue preclusion applies. How-
27      ever, Certified Nutraceuticals objects to the extent that the Clorox Defend-
28      ants are seeking a determination that the summary judgment order in Certi-
        fied v. Avicenna I is res judicata in this action.
                                            – 22 –
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1
                                 CERTIFICATE OF SERVICE
2
             Certified Nutraceuticals, Inc. v. The Clorox Company, et al., Case No.:
3
        3:18-cv-00744-W-KSC
4
             I hereby certify that on October 5, 2020, I filed the foregoing Plaintiff
5
        Certified Nutraceuticals, Inc.’s Opposition to the Clorox Defendants’
6
        Motion for Summary Judgement, which was served on counsel of record
7
        via the Court’s CM/ECF electronic filing system, as reflected on the Notice of
8
        Electronic File (NEF):
9

10
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         Counsel for Defendant                 The Clorox Company,
15
         Avicenna Nutraceutical, LLC           Neocell Holding Company and
16                                             Nutranext
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                                                /s/David A. Sergenian
                                                David A. Sergenian
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                    Opposition to Clorox’s Motion for Summary Judgment
